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                 EXHIBIT 1
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


______________________________________________
                                                )                MEL No. 1456
IN RE PHARMACEUTICAL INDUSTRY                   )                Master File No. 01-12257-PBS
AVERAGE WHOLESALE PRICE LITIGATION              )                Subcategory Case No. 06-11337
_______________________________________________ )
                                                )                Judge Patti B. Saris
THIS DOCUMENT RELATES TO:                       )
State of California, ex rel. Ven-A-Care v.      )                Magistrate Judge
Abbott Laboratories, Inc., et al.               )                Marianne B. Bowler
Case No: 03-cv-11226-PBS                        )
_______________________________________________ )



            SECOND AMENDMENT TO CASE MANAGEMENT ORDER NO. 31

       Paragraph 9 of Case Management Order No. 31 is amended to read as follows:

       9.       Unless otherwise directed by the Court, the following deadlines shall apply from

the date of entry of the instant Case Management Order. In instances where a particular deadline

falls on a holiday or weekend, the deadline will be extended to the first business day following

the holiday or weekend:

DEADLINE                                            ACTION
April 28-29, 2009                                   Parties to engage in mediation.
June 15, 2009                                       All fact discovery shall be completed.
June 30, 2009                                       Plaintiffs shall serve expert reports and other
                                                    materials in compliance with Fed. R. Civ. P.
                                                    26(a)(2)(B).
July 30, 2009                                       Defendants shall serve expert reports and other
                                                    materials in compliance with Fed. R. Civ. P.
                                                    26(a)(2)(B).
September 30, 2009                                  All expert depositions shall be completed.
November 25, 2009                                   Deadline to File Motions for Summary
                                                    Judgment
December 21, 2009                                   Deadline to File Responses to Motions for
                                                    Summary Judgment
January 15, 2010                                    Deadline to File Replies to Responses to
                                                    Motions for Summary Judgment

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DEADLINE                                          ACTION
January 29, 2010                                  Deadline to File Surreplies to Replies to
                                                  Responses to Motions for Summary Judgment


      The Court shall determine a date for a hearing on the motions.



                                           ____________________________________
                                           PATTI B. SARIS
                                           United States District Court Judge




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